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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

JOE ANDREW SALAZAR,                              §
                                                 §
       Plaintiff,                                §
                                                 §
v.                                               §                No. 2:16-CV-01096-JRG-RSP
                                                 §
HTC CORPORATION et al.,                          §
                                                 §
       Defendants.                               §

                     CLAIM CONSTRUCTION OPINION AND ORDER

       Before the Court is the opening claim construction brief of Plaintiff Joe Andrew Salazar

[Dkt. # 85], the response of Defendant HTC Corporation [Dkt. # 91], the reply of Plaintiff [Dkt.

# 94], and the sur-reply of Defendant [Dkt. # 97]. The Court held a claim construction hearing on

October 18, 2017. Having considered the arguments and evidence presented by the parties at the

hearing and in their claim construction briefing, the Court issues this Claim Construction Opinion

and Order.




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I.     BACKGROUND

       Plaintiff brings suit alleging infringement of U.S. Patent 5,802,467 by Defendant. The ap-

plication leading to the ’467 Patent was filed on September 28, 1995 and issued on September 1,

1998. The ’467 Patent is entitled “Wireless and Wired Communications, Command, Control and

Sensing System for Sound and/or Data Transmission and Reception.”

       In general, the ’467 Patent is directed to a handset and base station for communicating with

a plurality of external devices. Broadly, the Abstract of the ’467 Patent identifies that invention as:

       [a]n interactive microprocessor based wireless communication device includes
       sound and data transceivers, signal detection and coupling devices, signal conver-
       sion device, voice recording, playback and storage device, voice activated device,
       display device, touch screen or similar device, sensors, frequency generation de-
       vice, sound detection and reproduction devices and power source to concurrently
       perform generalized two way wireless communications, command, control and
       sensing functions utilizing radio and infra-red frequency communication links. A
       microprocessor receives signals from the touch screen and generates a digital data,
       command/or control signal for transmission to external devices such as home ap-
       pliances and remote sensors. The microprocessor also responds to voice signal
       commands received via microphone and a voice processor. The microprocessor
       uses this signal to generate data, command/or control signals for transmission to
       external devices such as telephone, paging and intercom systems. Sound signals
       may be stored in a voice recorder and playback IC for subsequent message pro-
       cessing and coupling to a transceiver and/or a speaker. Telephone ringer signals are
       generated by the microprocessor and are coupled to a ringer for audio output. In
       response to certain commands, the wireless communication device establishes a
       communication link with external devices using radio frequency or infra-red fre-
       quency transmission and/or reception. Sensor signals are created by sensors that
       can detect physical differential changes and that can convert the changes into meas-
       urements. These signals are coupled to the microprocessor for further processing,
       display and/or transmission.

’467 Patent abst. And as a representative example, Claim 10 recites:

               10. A handset and a base station employed in a communications,
               command, control and sensing system for communicating with a
               plurality of external devices, said handset and base station each



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            comprising:

               a microprocessor for generating a plurality of control signals
                  used to operate said system, said microprocessor creating a
                  plurality of communication protocols for transmission to
                  said external devices, each protocol containing a plurality of
                  control signals used to interface with an external device,
                  wherein each communication protocol includes a command
                  code set that defines the signals that are employed to com-
                  municate with each one of said external devices;

               a memory device coupled to said microprocessor configured to
                  store a plurality of parameter sets retrieved by said micro-
                  processor so as to recreate a desired command code set, such
                  that the memory space required to store said parameters is
                  smaller than the memory space required to store said com-
                  mand code sets;

               a user interface coupled to said microprocessor for sending a
                  plurality of signals corresponding to user selections to said
                  microprocessor, and displaying a plurality or menu selec-
                  tions available for user's choice, said microprocessor gener-
                  ating a communication protocol in response to said user se-
                  lections;

               a radio frequency transceiver coupled to said microprocessor fro
                   transmitting to said external devices and receiving from said
                   external devices, radio frequency signals at variable frequen-
                   cies within a predetermined frequency range and in accord-
                   ance with said communication protocols;

               an infra-red frequency transceiver coupled to said microproces-
                   sor for transmitting to said external devices and receiving
                   from said external devices infra-red frequency signals in ac-
                   cordance with said communications protocols;

               a selector controlled by said microprocessor for enabling said
                   radio frequency transceiver and said infra-red frequency
                   transceiver, to transmit a desired command code set gener-
                   ated by said microprocessor via either radio frequency sig-
                   nals and infra-red signals as desired, and to receive a signal



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                        from any one of said external devices via either radio fre-
                        quency signals and infra-red signals; and

                    a data detector coupled to said selector for receiving signals
                       transmitted from each one of said external devices, said data
                       detector providing control signals received from said exter-
                       nal devices to said microprocessor.

II.     LEGAL PRINCIPLES

        This Court’s claim construction analysis is guided by the Federal Circuit’s decision in Phil-

lips v. AWH Corporation, 415 F.3d 1303 (Fed. Cir. 2005) (en banc). In Phillips, the court reiterated

that “the claims of a patent define the invention to which the patentee is entitled the right to ex-

clude.” Phillips, 415 F.3d at 1312 (quoting Innova/Pure Water, Inc. v. Safari Water Filtration Sys.,

Inc., 381 F.3d 1111, 1115 (Fed. Cir. 2004)). “The construction that stays true to the claim language

and most naturally aligns with the patent’s description of the invention will be, in the end, the

correct construction.” Id. at 1316 (quoting Renishaw PLC v. Marposs Societa’ per Azioni, 158 F.3d

1243, 1250 (Fed. Cir. 1998)).

        In claim construction, patent claims are generally given their ordinary and customary

meaning, which “is the meaning that the term would have to a person of ordinary skill in the art in

question at the time of the invention, i.e., as of the effective filing date of the patent application.”

Id. at 1312–13. This principle of patent law flows naturally from the recognition that inventors are

usually persons who are skilled in the field of the invention and that patents are addressed to, and

intended to be read by, others skilled in the particular art. Id.

        Despite the importance of claim terms, Phillips made clear that “the person of ordinary

skill in the art is deemed to read the claim term not only in the context of the particular claim in

which the disputed term appears, but in the context of the entire patent, including the specifica-

tion.” Id. The written description set forth in the specification, for example, “may act as a sort of



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dictionary, which explains the invention and may define terms used in the claims.” Markman, 52

F.3d at 979. Thus, as the Phillips court emphasized, the specification is “the primary basis for

construing the claims.” Phillips, 415 F.3d at 1314–17. However, it is the claims, not the specifica-

tion, which set forth the limits of the patentee’s invention. Otherwise, “there would be no need for

claims.” SRI Int’l v. Matsushita Elec. Corp., 775 F.2d 1107, 1121 (Fed. Cir. 1985) (en banc).

       The prosecution history also plays an important role in claim interpretation as intrinsic

evidence that is relevant to the determination of how the inventor understood the invention and

whether the inventor limited the invention during prosecution by narrowing the scope of the

claims. Phillips, 415 F.3d at 1314–17; see also Microsoft Corp. v. Multi-Tech Sys., Inc., 357 F.3d

1340, 1350 (Fed. Cir. 2004) (noting that “a patentee’s statements during prosecution, whether re-

lied on by the examiner or not, are relevant to claim interpretation”). In this sense, the prosecution

history helps to demonstrate how the inventor and the United States Patent and Trademark Office

(PTO) understood the patent. Id. at 1317. Because the prosecution history, however, “represents

an ongoing negotiation between the PTO and the applicant,” it may sometimes lack the clarity of

the specification and thus be less useful in claim construction. Id.

       Courts are also permitted to rely on extrinsic evidence, such as “expert and inventor testi-

mony, dictionaries, and learned treatises,” id. (quoting Markman, 52 F.3d at 980), but Phillips

rejected any claim construction approach that sacrifices the intrinsic record in favor of extrinsic

evidence. Id. at 1319. Instead, the court assigned extrinsic evidence, such as dictionaries, a role

subordinate to the intrinsic record. In doing so, the court emphasized that claim construction issues

are not resolved by any magic formula or particular sequence of steps. Id. at 1323–25. Rather,

Phillips held that a court must attach the appropriate weight to the sources offered in support of a

proposed claim construction, bearing in mind the general rule that the claims measure the scope of




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the patent grant. “In cases where . . . subsidiary facts are in dispute, courts will need to make sub-

sidiary factual findings about [the] extrinsic evidence. These are the ‘evidentiary underpinnings’

of claim construction [discussed] in Markman, and this subsidiary factfinding must be reviewed

for clear error on appeal.” Teva Pharm. USA, Inc. v. Sandoz, Inc., 135 S. Ct. 831, 841 (2015).

       The Supreme Court of the United States has “read [35 U.S.C.] § 112, ¶ 2 to require that a

patent’s claims, viewed in light of the specification and prosecution history, inform those skilled

in the art about the scope of the invention with reasonable certainty.” Nautilus, Inc. v. Biosig In-

struments, Inc., 134 S. Ct. 2120, 2129 (2014). “A determination of claim indefiniteness is a legal

conclusion that is drawn from the court’s performance of its duty as the construer of patent claims.”

Datamize, LLC v. Plumtree Software, Inc., 417 F.3d 1342, 1347 (Fed. Cir. 2005) (citations and

internal quotation marks omitted), abrogated on other grounds by Nautilus, 134 S. Ct. 2120.

       A patent claim may be expressed using functional language. See 35 U.S.C. § 112(f) (for-

merly 35 U.S.C. § 112, ¶ 6); Williamson v. Citrix Online, LLC, 792 F.3d 1339, 1347–49 & n.3

(Fed. Cir. 2015) (en banc in relevant portion). Where a claim limitation is expressed in means-

plus-function language and does not recite definite structure in support of its function, the limita-

tion is subject to 35 U.S.C. § 112(f). Braun Med., Inc. v. Abbott Labs., 124 F.3d 1419, 1424 (Fed.

Cir. 1997). In relevant part, § 112(f) mandates that “such a claim limitation be construed to cover

the corresponding structure . . . described in the specification and equivalents thereof.” Id. (citing

35 U.S.C. § 112(f)).

       “It is well settled that a claim limitation that actually uses the word ‘means’ invokes a

rebuttable presumption that § 112, ¶ 6 applies. In contrast, a claim term that does not use ‘means’

will trigger the rebuttable presumption that § 112, ¶ 6 does not apply.” Apex Inc. v. Raritan Comp.,

Inc., 325 F.3d 1364, 1371 (Fed. Cir. 2003) (citations omitted). The Federal Circuit elaborated that




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“[w]hen a claim term lacks the word ‘means,’ the presumption can be overcome and § 112, ¶ 6

will apply if the challenger demonstrates that the claim term fails to recite sufficiently definite

structure or else recites function without reciting sufficient structure for performing that function.”

Williamson, 792 F.3d at 1349 (quotations omitted). “The standard is whether the words of the claim

are understood by persons of ordinary skill in the art to have a sufficiently definite meaning as the

name for structure.” Id.

        When it applies, § 112, ¶ 6 limits the scope of the functional term “to only the structure,

materials, or acts described in the specification as corresponding to the claimed function and equiv-

alents thereof.” Williamson, 792 F.3d at 1347. Construing a means-plus-function limitation in-

volves multiple steps. “The first step . . . is a determination of the function of the means-plus-

function limitation.” Medtronic, Inc. v. Advanced Cardiovascular Sys., Inc., 248 F.3d 1303, 1311

(Fed. Cir. 2001). “[T]he next step is to determine the corresponding structure disclosed in the spec-

ification and equivalents thereof.” Id. A “structure disclosed in the specification is ‘corresponding’

structure only if the specification or prosecution history clearly links or associates that structure to

the function recited in the claim.” Id. The focus of the “corresponding structure” inquiry is not

merely whether a structure is capable of performing the recited function, but rather whether the

corresponding structure is “clearly linked or associated with the [recited] function.” Id. The corre-

sponding structure “must include all structure that actually performs the recited function.” Default

Proof Credit Card Sys. v. Home Depot U.S.A., Inc., 412 F.3d 1291, 1298 (Fed. Cir. 2005). However,

§ 112 does not permit “incorporation of structure from the written description beyond that neces-

sary to perform the claimed function.” Micro Chem., Inc. v. Great Plains Chem. Co., 194 F.3d

1250, 1258 (Fed. Cir. 1999).




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III.   CONSTRUCTION OF AGREED TERMS

       The parties have agreed to the following meanings for the following terms. See, e.g., Dkt.

No. 99-1 (Joint Claim Construction Chart.)

                     TERM                                   AGREED CONSTRUCTION
 communications, command, control and sens-
                                            plain and ordinary meaning
 ing system
 control signals                                   plain and ordinary meaning

Accordingly, the Court ADOPTS the constructions agreed to by the parties as listed above.

IV.    CONSTRUCTION OF DISPUTED TERMS

       The parties’ positions and the Court’s analysis as to the disputed terms are presented below.

       A.      “base station” (claim 10 and various dependent claims)

                    Plaintiff’s                                       Defendant’s
              Proposed Construction                              Proposed Construction
  Ordinary meaning. The handset and the base            A device separate from the handset that is
  station have similar components and function in       structured to transmit signals to and receive
  substantially the same manner. The base station       signals from the handset, has a telephone
  may have additional features, for example: it         line interface that can be used to couple the
  couples a frequency modulated signal to alternat-     system to a telephone line, has an AC line
  ing current (AC) power line; it may be powered        FM coupler that can be used to couple FM
  by an alternative alternating current (AC) signal     signals to and from the AC power line and
  and battery power sources; it may provide battery     an AC power supply that can be used to
  charging for the handset, and it may be coupled       provide AC power for operating the base
  to public or private telephone lines.                 station and charging the handset battery.

       (1) The Parties’ Positions

       Plaintiff argues that the plain and ordinary meaning of this term is appropriate. See, e.g.,

Pl.’s Opening Br. [Dkt. # 85] at 5. Plaintiff argues the plain language of the specification provides

an unequivocal definition of the term, which is similar to that proposed by Plaintiff. Id. Plaintiff

argues that the specification contradicts Defendant’s proposed construction. Id. at 5–6.




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           Defendant argues Plaintiff’s construction ignores language in the specification that clarifies

 the meaning of additional features of the base station as opposed to the handset. See, e.g., Def.’s

 Resp. Br. [Dkt. # 91] at 6. Defendant argues that a base station is different from a handset, and its

 construction shows that the base station has structure that enables use of specific additional func-

 tionality. Id. at 7.

           Plaintiff replies that Defendant’s construction is contradicted by claim differentiation and

 figures in the specification and imports limitations unnecessarily from the specification. See, e.g.,

 Pl.’s Reply Br. [Dkt. # 94] at 1–3. Plaintiff argues the patent does not discriminate between the

 components and functionality of the handset or base station, and that the base station and handset

 have similar components and function in substantially the same manner. Id. at 2–3.

           Defendant counters that the claims require two different devices. See, e.g., Def.’s Sur-Reply

 [Dkt. # 97] at 1. Defendant argues the specification identifies specific structures in the base station

 that are not present in the handset. Id. Defendant argues the Court should clarify that the base

 station and handset are two different devices and identify the differences explicitly required by the

 specification. Id. at 1–2.

           (2) Analysis

                                                The Claims

           The disputed “base station” term appears in independent claim 10 and its dependent claims.

 The preamble of claim 10 is reproduced below in relevant part, as well as various dependent

 claims:

           [claim 10] A handset and a base station employed in a communications, command,
           control and sensing system for communicating with a plurality of external devices,
           said handset and base station each comprising

           [claim 12] The communication, command, control and sensing system of claim 10,



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        wherein said base station is coupled to at least one telephone line via a telephone
        line interface.

        [claim 13] The communications, command, control and sensing system of claim 10
        wherein said base station is adapted to couple frequency modulated signals to an
        alternating current power line.

        [claim 14] The communications, command, control and sensing system of claim 10
        wherein said base station further comprises a backup battery power source.

        [claim 18] The communications, command, control and sensing system of claim
        17, further comprising an internal and an external intercom device, so as to provide
        voice and data communications among said base station, said handset and external
        intercom devices.

        [claim 23] The communications command, control and sensing system of claim 10,
        further comprising at least one sensor located on either of said handset and base
        station, said sensor coupled to said microprocessor for detecting and measuring
        physical phenomena.

 (emphasis added). Independent claim 10 requires both a handset and a base station and requires

 each of the handset and base station to have various limitations. Some of the dependent claims

 (e.g., claims 12–14) provide additional limitations for the base station. Despite these limitations,

 there is nothing in the claim language that provides a special meaning for the “handset” or “base

 station” terms.

                                         The Specification

        The specification has repeated references to a “handset” and “base station.” FIGS. 1a and

 1b are block diagrams of the system comprised of a “handset and base station in accordance with

 the present invention.” ’467 Patent at 6:1–9. FIG. 1a of the ’467 Patent (below) provides a picture

 of the handset and base station. Likewise, FIG. 1b of the patent (below) illustrates a block diagram

 of the system showing communication between the handset, base station, and external appliances

 and/or apparatuses.




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 The ’467 Patent discusses the handset and base station illustrated in FIG. 1b:

        As illustrated in FIG. 1b, external appliances and/or apparatuses may include an
        intercom 2, an alarm 3, an alternating current (AC) actuator 4, a TV 5, a VCR 6, a
        cable box 7, a sound system 8, a remote sensor 9, or any other RF/IR apparatus 11.
        As shown, handset 10 may communicate directly to any of the external apparatuses
        or directly to a base station 25. Alternately, base station 25 may communicate
        directly with any of the external apparatuses or handset 10. Further still, handset
        10 may communicate to an external apparatus through base station 25. Finally,
        base station 25 may communicate through a telephone line and/or an alternating
        current (AC) signal power line to any other apparatus having the ability to com-
        municate through same.

 ’467 Patent 6:39–51 (emphasis added). The Summary of the Invention section provides a summary

 of the “handset” and “base station”:

        In accordance with the present invention, a wireless and wired communications,
        command, control and sensing system, in the form of a remote handset or base
        station, or both, is provided. Both the handset and the base station have similar
        components and function in substantially the same manner. The base station
        may have additional features, for example: it couples a frequency modulated sig-
        nal to alternating current (AC) power line; it may be powered by an alternative
        alternating current (AC) signal and battery power sources; it may provide battery
        charging for the handset, and it may be coupled to public or private telephone lines.




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        Both the handset and the base station contain a touch screen or similar touch sen-
        sitive device that when touched in at least one specific outlined area, provide the
        means for externally interacting with their respective microprocessors. This inter-
        action initiates the execution of a software instruction set.

 ’467 Patent at 2:66–3:14.

        The base station radio frequency transceiver further couples two way frequency
        modulated signals from and to alternating current (AC) power line for two way
        communication with other frequency modulation transceivers that are also coupled
        to alternating current (AC) power line.

        The base station further couples voice and data signals to public and/or private
        telephone network.

        The base station is further powered by direct current (DC) signal and an alternating
        current (AC) signal power source.

 Id. at 4:34–42 (emphasis added). Numerous other references to the handset and base station are

 found within the specification.

        The specification teaches that the handset and base station are separate devices. While the

 handset and base station have similar components and function in substantially the same manner,

 the base station may have additional features. The specification is consistent with the claims, in

 that the base station and handset have similar components and functions (see claim 10), but the

 base station may have additional features (see, e.g., claims 12–14).

                                         Prosecution History

        Neither party substantively relies on the prosecution history in support of their positions

 on this term.

                                             Conclusion

        Overall, the Court finds the ’467 Patent provides no special meaning to the term “handset”

 or “base station,” and the patent’s use of these terms is consistent with their ordinary meaning. The




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 specification is consistent with the claims. FIG. 1A provides simple picture descriptions of a

 “handset” and “base station,” which descriptions are consistent with the plain meaning of these

 terms and the claims. FIGS. 1b and FIGS. 2–5 similarly provide block diagrams of a “handset”

 and “base station” consistent with their plain and ordinary meanings. While the ’467 Patent does

 provide some specific limitations for the handset and base station in the claims, this does not

 change the plain and ordinary meaning of the base station and handset terms.

        The Court rejects both Plaintiff’s and Defendant’s constructions. Both unnecessarily com-

 plicate the plain meaning of these terms and create ambiguity and confusion as to the meaning of

 these terms. For example, Plaintiff’s construction fails to provide any inherent meaning to the

 “handset” and “base station” terms. Defendant’s construction unnecessarily limits “base station”

 with additional structure found in the preferred embodiment of the specification and various de-

 pendent claims.

        Instead, the Court finds that the “base station” and “handset” terms do not appear to have

 a meaning other than its plain and ordinary meaning. The Court, however, finds that a construction

 is helpful to eliminate the dispute between the parties and to give some meaning to the separate

 terms and devices “handset” and “base station.”

        On balance, the Court finds the “base station” and “handset” are different devices and have

 different meanings. Simply put, a “handset” is not a “base station.” During the claim construction

 hearing, Plaintiff was unable to articulate any required difference in structure between the handset

 and base station and only argued there “may” be differences and added functionality to the base

 station. On the other hand, Defendant’s construction goes too far in its inclusion of multiple limi-

 tations from the specification. The claims and specification are very clear that most of these addi-

 tional structures are optional and are not a required part of the “base station.” The Court is tasked




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 with determining what is the primary distinguishing feature between a handset and base station

 based on their ordinary meanings and the intrinsic record. The Court finds that—consistent with

 the specification’s repeated characterization of the “present invention” and the plain meaning of

 the term “base station”—the “base station” term must require a telephone line interface. The Court

 rejects Plaintiff’s arguments to the contrary. Regarding dependent claim 12, the Court notes that

 claim differentiation is not dispositive.

        The Court hereby construes the term “base station” to mean “a device separate from the

 handset that has a telephone line interface.”

        B. “microprocessor” (claim 1, 10, and 34)

                                           Plaintiff’s                    Defendant’s
          Disputed Term
                                     Proposed Construction           Proposed Construction
                                                              A microprocessor configured to
                                                              create a plurality of control signals
   a microprocessor for generat-                              used to operate the communica-
   ing a plurality of control sig-                            tions, command control and sens-
   nals used to operate said sys-                             ing system and to create all of the
   tem (claim 1)                                              command code sets for [repro-
                                                              grammable] communication pro-
                                     plain and ordinary mean-
   said microprocessor creating                               tocols of each of the plurality of
                                     ing
   a plurality of reprogrammable                              external devices with which the
   communication protocols /                                  system is intended to communi-
   said microprocessor creating                               cate.
   a plurality of communication                                 INVALID because is indefinite as
   protocols (claims 1, 34 / 10)                                construed under IPXL Holdings
                                                                (invalid for claiming both appa-
                                                                ratus and use)

        (1) The Parties’ Positions

        Defendant argues the microprocessor must be actually programmed to perform all of the

 recited functional language. See, e.g., Def.’s Resp. Br. [Dkt. # 91] at 8–10. The claim language and




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 prosecution history, says Defendant, require more than just the “ability” to be programmed to per-

 form the recited function. Id. Moreover, Defendant argues the claim language of using “creating”

 and “recreating” creates confusion, and similar to the IPXL Holdings, renders the claim invalid.

 Id. at 10–13. Defendant also argues the “timing” of the acts (microprocessor creating and memory

 device recreating) are different. Id. at 12. Defendant argues the public is not given reasonable

 notice about when infringement occurs and is thus invalid as being indefinite. Id.

         Plaintiff argues that the plain and ordinary meaning of this term is appropriate. See, e.g.,

 Pl.’s Opening Br. [Dkt. # 85] at 7. In its Reply, Plaintiff argues that Defendant’s prosecution history

 statements are misleading and wrong. See, e.g., Pl.’s Reply Br. [Dkt. # 94] at 3–4. Plaintiff argues

 the patent discloses “capability” claims, and that the Notice of Allowance confirms the claims are

 “capability” claims and not use claims. Id. Plaintiff argues that there is no support in the intrinsic

 evidence to limit the claims as proposed by Defendant. Id.

         Plaintiff also argues IPXL Holdings is not applicable because the claims only indicate a

 capability of the structure rather than actual use. Id. at 4–5. In particular, Plaintiff argues that the

 claims and specification of the patent make clear the microprocessor has the capability to create a

 plurality of reprogrammable communication protocols and recreate a desired command code set.

 Id. at 5. There is no “user activity” required. Further, the timing of the creating/recreating of the

 command code set has no bearing on infringement because infringement occurs upon creation of

 the system that is capable of performing the creating/recreating of the command code set and

 “when” that actual creating/recreating steps happens is immaterial. Id.

         Defendant counters that Plaintiff ignores the vast majority of prosecution history and its

 entire argument is based on a single reference to “capability” in the Notice of Allowance. See, e.g.,

 Def.’s Sur-Reply [Dkt. # 97] at 2. Defendant argues the patentee used functional claim language




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 and added even more functional claim language during prosecution, thus claiming the structure of

 “microprocessor” beyond being merely a microprocessor and emphasized that structure for patent-

 ability. Id. at 3. While the claims recite a microprocessor for “generating” and “creating,” Defend-

 ant asks the Court to construe those terms as requirements—not just capabilities. Id.

           (2) Analysis

                                                The Issue

           The primary issue as to this term is whether it is invalid for improperly reciting both appa-

 ratus and use limitations in a single claim, or whether it indicates structure capability as opposed

 to use.

                                                 Claims

           The microprocessor and related memory device terms are recited in each of the independent

 claims in substantially similar language. As an example, Claim 1 recites:

           a microprocessor for generating a plurality of control signals used to operate said
           system, said microprocessor creating a plurality of reprogrammable communica-
           tion protocols, for transmission to said external devices wherein each communica-
           tion protocol includes a command code set that defines the signals that are em-
           ployed to communicate with each one of said external devices;

           a memory device coupled to said microprocessor configured to store a plurality of
           parameter sets retrieved by said microprocessor so as to recreate a desired com-
           mand code set, such that the memory space required to store said parameters is
           smaller than the memory space required to store said command code sets;

 (emphasis added). Based on a plain reading of the claims, the microprocessor is configured to

 create the communication protocols (which includes a command code set). As recited in the

 memory device limitation, the microprocessor is configured to retrieve parameters sets from the

 microprocessor so as to recreate a desired command code set.




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                                         Prosecution History

        In response to the office action rejecting the claims over the prior art, the applicant amended

 independent claims 1 and 10 to include additional detail on the “microprocessor” limitation and

 include the entire “memory device” limitation:




 Oct. 31, 1997 Response to Office Action at 1–2. In the response, the applicant explained these

 limitations:




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 Id. at 10–11. Thus, the stored parameters are used to recreate and generate signals corresponding

 to a desired command code set; the microprocessor can be reprogrammed so that proper signals

 corresponding to a new device can be recreated by storing or varying the parameters related to the

 new device. See id.

        The applicant distinguished the prior art as not having this feature. For example, Defendant

 argued the Krisbergh prior art reference “does not teach or suggest a memory device that is con-

 figured to store a plurality of parameter sets that may be retrieved by the microprocessor so as to

 recreate a desired command code set.” Id. at 12. In the Notice of Allowance, the Examiner indi-

 cated the claims were directed to the “capability” of the claimed system to recreate a command

 code set from a set of parameters to communicate with external devices:




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 Notice of Allowance (Feb. 17, 1998) at 2. On balance, the prosecution history indicates that the

 claims are directed to the capability of the system to perform the recited function and do not require

 or indicate any actual use of the system to perform the recited functions.

                                             Specification

        The specification repeatedly references to the microprocessor term. For example:

        In order to substantially decrease the amount of memory necessary to store infra-
        red signals, microprocessor 30 in accordance with the present invention, retrieves
        data from a memory device, such as a RAM, ROM, EPROM or EEPROM, that is
        configured so as to store a finite set of parameters that may be used to recreate and
        generate signals corresponding to a desired command code set. These parameters
        take substantially less memory space than if the entire signal were to be stored.

 ’467 Patent at 8:22–30.

        Microprocessor 30 in accordance with the present invention may also be config-
        ured such that a set of signals belonging to a command code set may be generated
        by using parameters stored in one array, and remaining sets of signals belonging to
        the same command code set may be generated by using parameters stored in other
        arrays.

 Id. at 8:60–65.

        It will be appreciated that microprocessor 30 may generate a sequence of signals
        for a desired command code set, based on the information contained in a corre-
        sponding parent or child array. In operation microprocessor 30 is configured to
        generate signals for a variety of most popular command code sets relating to most
        popular commercially available devices.

 Id. at 16:40–45 (emphasis added). In general, the specification is clear that the microprocessor

 must be configured to generate the signals.

                                               Conclusion

        The parties differ about whether the recited claim language involves a mixed-use claim

 limitation that impermissibly includes both apparatus and use limitations. A single claim covering




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 both an apparatus and a method of use of that apparatus fails to meet the requirements of § 112

 because “it is unclear whether infringement . . . occurs when one creates a[n infringing] system

 [ . . . ], or whether infringement occurs when the user actually uses [the system in an infringing

 manner].” IPXL Holdings, LLC v. Amazon.com, Inc., 430 F.3d 1377, 1384 (Fed. Cir. 2005). None-

 theless, “apparatus claims are not necessarily indefinite for using functional language.” Micropro-

 cessor Enhancement Corp. v. Texas Instruments Inc., 520 F.3d 1367, 1375 (Fed. Cir. 2008). If an

 apparatus claim “is clearly limited to [an apparatus] possessing the recited structure and capable

 of performing the recited functions,” the claim is not indefinite. Id.

        Overall, the Court finds that the “microprocessor” claims of the ’467 Patent are not indef-

 inite, as they reflect the capability of the claimed apparatus. Unlike the claims at issue in IPXL

 Holdings and similar claims, 1 the claims at issue here make clear the “microprocessor” limitation

 reflects the capability of that structure rather than the activities of the user. See also

 UltimatePointer, L.L.C. v. Nintendo Co., 816 F. 3d 816, 826–27 (Fed. Cir. 2016).

        Based on its review of the claims, specification, and prosecution history, the Court finds

 the microprocessor must be configured to generate the plurality of control signals. The claim indi-

 cates only a capability of the structure rather than the actual use; therefore, the claim is not indef-

 inite as improperly combining mixed use and apparatus claims. The claims indicate the ability to

 store a plurality of parameter sets so as to recreate a desired command code set, and do not actually

 require that any command code set actually be created. According, the Court rejects Defendant’s




 1
  In IPXL Holdings, the claim at issue recited a system including input means, wherein “the user
 uses the input means.” See, e.g., IXPL Holdings, 430 F.3d at 1384. Thus, the claims were unclear
 about whether infringement occurred when the system was created or when the system was used.
 See id.



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 arguments to the contrary and rejects the application of IPXL Holdings. The Court finds Defend-

 ant’s arguments relating to the “timing” of the creating and/or recreating steps unpersuasive.

        The Court construes the term “a microprocessor for generating a plurality of control signals

 used to operate said system, said microprocessor creating a plurality of reprogrammable commu-

 nication protocols” in claims 1, 10, and 34 to mean “a microprocessor configured to generate a

 plurality of control signals used to operate said system and configured to create a plurality

 of [reprogrammable] communication protocols.”

        C. “memory device” (claims 1, 10, and 34)

                                  Plaintiff’s
                                                                    Defendant’s
       Disputed Term              Proposed
                                                               Proposed Construction
                                 Construction
                                                    Means-plus-function limitation


                                                    Function: “storing a plurality of parameter
   a memory device cou-                             sets retrieved by said microprocessor so as to
   pled to said micropro-                           recreate a desired command code set, such
   cessor configured to                             that the memory space required to store said
   store a plurality of pa-                         parameters is smaller than the memory space
   rameter sets retrieved                           required to store said command code sets”
   by said microprocessor
   so as to recreate a de-    not a means-plus-
   sired command code         function claim       Structure: Invalid for failure to provide corre-
                              plain and ordinary    sponding structure linked to recited function.
   set, such that the         meaning
   memory space required
   to store said parameters                         In the alternative (if not means-plus-function
   is smaller than the                              limitation): “a memory device configured to
   memory space required                            store a plurality of parameter sets retrieved by
   to store said command                            said microprocessor so as to recreate a desired
   code sets (claims 1, 10)                         command code set, such that the memory
                                                    space required to store said parameters is
                                                    smaller than the memory space required to
                                                    store said command code sets”




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                                                     Means-plus-function limitation


                                                     Function: “storing a plurality of parameter
   a memory device cou-                              sets retrieved by said microprocessor so as to
   pled to said micropro-                            recreate based on said parameter sets a de-
   cessor configured to                              sired set of pulse signals corresponding to
   store a plurality of pa-                          logical “1’s” and “0’s” as specified by a com-
   rameter sets retrieved                            mand code set”
   by said microprocessor      not a means-plus-
   so as to recreate based     function claim  Structure: Invalid for failure to provide corre-
   on said parameter sets a    plain and ordinary sponding structure linked to recited function.
   desired set of pulse sig-   meaning
   nals corresponding to
                                                     In the alternative (if not means-plus-function
   logical “1’s” and “0’s”
                                                     limitation): “a memory device coupled to said
   as specified by a com-
                                                     microprocessor configured to store a plurality
   mand code set (claim
                                                     of parameter sets retrieved by said micropro-
   34)
                                                     cessor so as to recreate based on said parame-
                                                     ter sets a desired set of pulse signals corre-
                                                     sponding to logical “1’s” and “0’s” as speci-
                                                     fied by a command code set”

        (1) The Parties’ Positions

        Plaintiff contends the plain and ordinary meaning of this term is appropriate. See, e.g., Pl.’s

 Opening Br. [Dkt. # 85] at 8. Plaintiff argues that because the term “means” is not used there is a

 presumption that it is not a means-plus-function limitation. Id. Defendant has not rebutted that

 presumption.

        Defendant argues the term should be construed under 112(f) because it recites function

 without reciting sufficient structure for performing the function. See, e.g., Def.’s Resp. Br. [Dkt.

 # 91] at 14. Defendant argues that while the memory device can be configured to be stored, it

 cannot itself perform the recited functions. Id. Because there is no corresponding structure that the

 memory device can perform recited function, then the claim is invalid. Id. In the alternative, if it




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 is not a 112(f) limitation, the memory device limitation should be limited to include the additional

 functional language describing the structure of the memory device. Id.

        Plaintiff replies that Defendant has not rebutted the presumption that it is not a means-plus-

 function limitation. See, e.g., Pl.’s Reply Br. [Dkt. # 94] at 6. Further, Plaintiff argues Defendant’s

 recited function improperly links that function to the memory device rather than the microproces-

 sor. Id. at 6–7. Plaintiff argues the specification clearly reflects that the memory device stores data

 and is not capable of recreating command code sets, as opposed to a microprocessor that creates

 and recreates command code. Id. Further, regarding Defendant’s alternative construction, Plaintiff

 argues Defendant provides no reasonable basis to rewrite the claim language. Id. at 7–8.

        Defendant counters that Plaintiff seeks to rewrite the “memory device” limitations by ig-

 noring functional language Plaintiff admits cannot be performed by the memory device. See, e.g.,

 Def.’s Sur-Reply [Dkt. # 97] at 3. Defendant argues the limitations cannot be ignored or attributed

 to a different limitation. Id. Defendant also argues that Plaintiff concedes the memory device lacks

 sufficient structure to perform all of the recited functionality, thereby requiring 112(f). Id. at 3–4.

        (2) Analysis

                                               The Issues

        There are two issues here: (1) whether the memory device or the microprocessor performs

 the recited “recreate a desired command code set” limitation, and (2) whether this term is a means-

 plus-function limitation, and

                                              The Claims

        The memory device and microprocessor related terms are recited in each of the independent

 claims in substantially similar language. Claim 1, for example, recites:




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        a microprocessor for generating a plurality of control signals used to operate said
        system, said microprocessor creating a plurality of reprogrammable communica-
        tion protocols, for transmission to said external devices wherein each communica-
        tion protocol includes a command code set that defines the signals that are em-
        ployed to communicate with each one of said external devices;

        a memory device coupled to said microprocessor configured to store a plurality of
        parameter sets retrieved by said microprocessor so as to recreate a desired com-
        mand code set, such that the memory space required to store said parameters is
        smaller than the memory space required to store said command code sets

 (emphasis added). Based on a plain reading of the claims, the memory device is configured to store

 a plurality of parameter sets and the microprocessor is configured to retrieve those parameter sets.

 In addition, the Court finds that the most accurate plain reading of the “memory device” limitation

 is that the microprocessor is configured to retrieve parameters sets from the microprocessor so as

 to recreate a desired command code set. In other words, the microprocessor recreates the desired

 command code set—not the memory device.

                                      The Prosecution History

        In response to the office action rejecting the claims over the prior art, the applicant amended

 independent claims 1 and 10 to include additional detail on the “microprocessor” limitation and

 include the entire “memory device” limitation:




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 Oct. 31, 1997 Response at 1–2). In its response, the applicant explained these limitations:




 Id. at 10–11. Thus, the stored parameters are used to recreate and generate signals corresponding

 to a desired command code set; the microprocessor can be reprogrammed so that proper signals

 corresponding to a new device can be recreated by storing or varying the parameters related to the




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 new device. See id. The applicant distinguished the prior art as not having this feature. For exam-

 ple, Defendant argued the Krisbergh prior art reference “does not teach or suggest a memory device

 that is configured to store a plurality of parameter sets that may be retrieved by the microprocessor

 so as to recreate a desired command code set.” Id. at 12. Again, consistent with the claims, the

 Court finds the prosecution history confirms that the microprocessor, not the memory device, rec-

 reates the desired command code set.

                                          The Specification

        The specification has repeated references to the “microprocessor” and “memory device”

 terms, such as:

        In order to substantially decrease the amount of memory necessary to store infra-
        red signals, microprocessor 30 in accordance with the present invention, retrieves
        data from a memory device, such as a RAM, ROM, EPROM or EEPROM, that is
        configured so as to store a finite set of parameters that may be used to recreate and
        generate signals corresponding to a desired command code set. These parameters
        take substantially less memory space than if the entire signal were to be stored.

 ’467 Patent at 8:22–30 (emphasis added).

        Microprocessor 30 in accordance with the present invention may also be config-
        ured such that a set of signals belonging to a command code set may be generated
        by using parameters stored in one array, and remaining sets of signals belonging to
        the same command code set may be generated by using parameters stored in other
        arrays.

 Id. at 8:60–65 (emphasis added).

        It will be appreciated that microprocessor 30 may generate a sequence of signals
        for a desired command code set, based on the information contained in a corre-
        sponding parent or child array. In operation microprocessor 30 is configured to
        generate signals for a variety of most popular command code sets relating to most
        popular commercially available devices.




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 Id. at 16:40–45 (emphasis added). The Court finds that the specification teaches that the micropro-

 cessor—not the memory device—recreates the desired command code set.

         Overall, the Court finds the language of the claims, the prosecution history, and the speci-

 fication confirm the memory device “stores” a plurality of parameter sets and the microprocessor

 retrieves those parameter sets so as to recreate a desired command code set (see claims 1 and 10)

 or a desired set of pulse signals (see claim 34). Thus, the Court rejects Defendant’s arguments 2 to

 the contrary and concludes its construction is a contorted reading of the claims that ignores the

 prosecution history and specification. Further, requiring a memory device to perform such recited

 functions would be contrary to how memory devices actually function and are used and contrary

 to the specification.

         As to the second issue, it is well settled that a claim limitation that actually uses the word

 “means” invokes a rebuttable presumption that § 112, ¶ 6 applies. See, e.g., Williamson, 792 F.3d

 at 1349. It is also equally understood that a claim term that does not use “means” will trigger the

 rebuttable presumption that § 112, ¶ 6 does not apply. Id. But the presumption against the applica-

 tion of § 112, ¶ 6 can be overcome if a party can “demonstrate[] that the claim term fails to ‘recite

 sufficiently definite structure’ or else recites ‘function without reciting sufficient structure for per-

 forming that function.’” Id. (quoting Watts v. XL Sys., Inc., 232 F.3d 877, 880 (Fed. Cir. 2000)).

         Here, the disputed term does not recite the word “means.” Therefore, there is a rebuttable




 2
   Defendant’s primary argument appears to be that simply because the “recreate” limitation
 is found in the memory device limitation, that it must require the memory device to perform
 that limitation; otherwise it would have been included somewhere else in the claim. Besides
 not being supported by case law, Defendant’s argument ignores that “microprocessor” is
 also recited in the memory device limitation.



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 presumption that § 112, ¶ 6 does not apply. Defendant, however, has failed to rebut the presump-

 tion because “the words of the claim are understood by persons of ordinary skill in the art to have

 a sufficiently definite meaning as the name for structure.” Williamson, 792 F.3d at 1348. Thus, the

 Court finds the term “memory” has a reasonably well-understood structural meaning and is suffi-

 cient structure for accomplishing the recited function of storing a plurality of parameters sets.

         That the simple term “memory” may cover a broad class of structures does not mean it is

 structure-less. To those of skill in the art, memory is a specific structure that stores data. Consistent

 with this understanding, the specification provides an example of the memory as being a “RAM,

 ROM, EPROM, or EEPROM that is configured so as to store a finite set of parameters that may

 be used to recreate and generate signals corresponding to a desired command code set.” ’467 Patent

 at 8:25–28. On balance, the Court finds Defendant has failed to rebut the presumption. Thus, the

 term is a not means-plus-function limitation governed by 35 U.S.C § 112, ¶ 6. This finding is fur-

 ther confirmed by Defendant’s alternative construction, which effectively adopts a plain and ordi-

 nary meaning approach for the disputed term.

         One of ordinary skill in the art, based upon the specification and the claims, would under-

 stand “memory device” to have its plain and ordinary meaning. And one of ordinary skill in the

 art, based upon the specification and the claims, would understand the remaining terms in the

 disputed phrase to likewise have their plain and ordinary meanings, which is further supported by

 Defendant’s alternative construction. Indeed, Defendant does not appear to dispute any material

 terms in the disputed phrase but just disagrees as to what component performs a particular limita-

 tion.

         Because this resolves the dispute between the parties, the Court finds that no other terms

 within the disputed phrase requires further construction. See U.S. Surgical Corp. v. Ethicon, Inc.,




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 103 F.3d 1554, 1568 (Fed. Cir. 1997) (“Claim construction is a matter of resolution of disputed

 meanings and technical scope, to clarify and when necessary to explain what the patentee covered

 by the claims, for use in the determination of infringement. It is not an obligatory exercise in re-

 dundancy.”); see also O2 Micro Int’l Ltd. v. Beyond Innovation Tech. Co., 521 F.3d 1351, 1362

 (Fed. Cir. 2008) (“[D]istrict courts are not (and should not be) required to construe every limitation

 present in a patent’s asserted claims.”) (citing U.S. Surgical, 103 F.3d at 1568).

        The Court construes “a memory device coupled to said microprocessor configured to store

 a plurality of parameter sets retrieved by said microprocessor so as to recreate a desired command

 code set, such that the memory space required to store said parameters is smaller than the memory

 space required to store said command code sets” to mean “a memory device coupled to said

 microprocessor configured to store a plurality of parameter sets retrieved by said micropro-

 cessor so as to recreate, by the microprocessor, a desired command code set, such that the

 memory space required to store said parameters is smaller than the memory space required

 to store said command code sets.”

        The Court hereby construes the term “a memory device coupled to said microprocessor

 configured to store a plurality of parameter sets retrieved by said microprocessor so as to recreate

 based on said parameter sets a desired set of pulse signals corresponding to logical “1’s” and “0’s”

 as specified by a command code set” to mean “a memory device coupled to said microprocessor

 configured to store a plurality of parameter sets retrieved by said microprocessor so as to

 recreate, by the microprocessor, based on said parameter sets a desired set of pulse signals

 corresponding to logical “1’s” and “0’s” as specified by a command code set.”

        The Court notes that these constructions are consistent with the constructions proposed by

 the Court at the claim construction hearing, to which Plaintiff had no objections.




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        D. “selector” (claim 2)

           Plaintiff’s                                      Defendant’s
     Proposed Construction                             Proposed Construction
                                   a device that transmits a command code set generated by a mi-
                                   croprocessor to an external device via either radio frequency or
   plain and ordinary meaning      infra-red frequency signals as selected by a user, and receives
                                   signals from external devices via both radio frequency and infra-
                                   red

        (1) The Parties’ Positions

        Defendant argues the limitations surrounding the term should include structure of the se-

 lector and arguments made in the prosecution history. See, e.g., Def.’s Resp. Br. [Dkt. # 91] at 17–

 18. In effect, Defendant argues prosecution history disclaimer.

        Plaintiff argues the plain and ordinary meaning of this term is appropriate. See, e.g., Pl.’s

 Opening Br. [Dkt. # 85] at 9. To Defendant’s argument, Plaintiff replies that Defendant attempts

 to rewrite the term to require “use by a user” and add limitations without any support. See, e.g.,

 Pl.’s Reply Br. [Dkt. # 94] at 9–10. Plaintiff argues nothing in the prosecution history rises to the

 level of a disavowal and that Defendant’s inclusion of the word “both” contradicts the claim lan-

 guage that only requires “either.” Id. at 10.

        Defendant counters that its construction is supported by the specification and prosecution

 history. See, e.g., Def.’s Sur-Reply [Dkt. # 97] at 4. Defendant argues that during prosecution the

 patentee made clear statements to identify user selection between RF and IR as the key difference

 between the claimed invention and the prior art. Id. Defendant argues the express claim language

 further support that the selector has the capability of receiving signals from external devices via

 both RF and IR. Id. Defendant argues that because the selector needs to be able to transmit via

 either RF or IR signals “as desired,” and to receive a signal from any one of the external devices




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 via either RF or IR signals, the selector has to receive via both RF and IR. Id.

        (2) Analysis

                                             The Issues

        The Court will consider (1) whether the “selector” device is operated/selected by the

 “user,” and (2) whether it receives both RF and IR signals. Defendant argues such limitations are

 required for this term and Plaintiff argues the term simply has its plain and ordinary meaning.

                                             The Claims

        The “selector” limitation is found in claims 2 and 10. Claim 10, for example, recites:

        a selector controlled by said microprocessor for enabling said radio frequency transceiver
        and said infra-red frequency transceiver, to transmit a desired command code set generated
        by said microprocessor via either radio frequency signals and infra-red signals as desired,
        and to receive a signal from any one of said external devices via either radio frequency
        signals and infra-red signals; and

 (emphasis added). According to the claim language, the selector may transmit via “either” RF

 signals and IR signals, and may receive via “either” RF and IR signals. The claim language ex-

 pressly states “either” and not “both.” The language of the selector limitation likewise recites the

 phrase “as desired,” and does not require the “user” to necessarily make the decision or selection.

                                          The Specification

        The specification has numerous references to the “selector” limitation. For example, the

 patent states it is an “object of the present invention to provide full two way RF and IR communi-

 cation links to all types of apparatus and/or appliances.” ’467 Patent at 1:50–52. FIG. 1b shows

 each external appliance/apparatus, handset, and base station may receive and transmit RF and IR

 signals. FIG. 3 shows RF/IR selector 52 of the handset, and FIG. 5 shows RF/IR selector 165 of

 the base station. In each figure, the selector is coupled to both the RF and IR frequency transceiv-

 ers.



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        The specification also teaches how the RF/IR selector is utilized. For example:

        Radio frequency operation is accomplished through the use of RF transceiver 50,
        RF/IR selector 52, microprocessor 30, frequency synthesizer 56, and a phase
        locked loop circuit. Frequency selection or channel designation and selection is
        controlled by microprocessor 30. Transmission and reception protocols are con-
        tained within microprocessor 30 and are activated based on the mode selection
        made via touch sensitive device 14. In this manner, handset 10 communicates with
        any number of external devices having compatible transceivers.

 ’467 Patent at 20:2–11 (emphasis added).

        In one embodiment, touching the touch sensitive device 14, in an area labeled “in-
        tercom”, activates a communication path from microphone 18 to sound/data cou-
        pler 62 to RF/IR selector 52 to either radio frequency transceiver 50 or infra-red
        frequency transceiver 60 to establish a two way communication link with a wireless
        intercom 2 as shown in FIG 1b.

 Id. at 20:12–17 (emphasis added).

        Referring back to FIG. 3, in an intercom embodiment, an external intercom appa-
        ratus 2 (See FIG. 1b) generates a control and voice signal that is detected by either
        radio frequency transceiver 50 or infra-red transceiver 60. The received radio fre-
        quency signals are routed by the RF/IR selector 52. The control signal goes to
        microprocessor 30, via data detector 54. The voice signal goes to the D/A converter
        36 for output to speaker 20, or it goes directly to speaker 20. The received infra-red
        frequency signals are routed by RF/IR selector 52. The control signal goes to mi-
        croprocessor 30 for processing, including generating a ringer signal, and the voice
        signal goes to D/A converter 36 for output to speaker 20 or it goes directly to
        speaker 20. In one embodiment in accordance with the invention base station 25
        interacts with handset 10 to perform intercom and paging functions.

 Id. at 20:41–56 (emphasis added). It is clear in the specification the selector is an RF/IR selector

 that can receive both IR and RF signals. The specification is also clear that frequency selection or

 channel designation and selection is controlled by the protocols in the microprocessor that are

 activated by mode selection made via touch sensitive device 14. ’467 Patent at 20:5–6.




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                                       The Prosecution History

        In response to the office action rejecting the claims over the prior art, the applicant amended

 various portions of the claims, including claim 10:




 Oct. 31, 1997 Response at 5. In its response, the applicant explained this limitation:




 Id. at 11. And the applicant distinguished the prior art as not having this selector feature:




                                                       ***




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 Id. at 13–14. While the prosecution history seems clear the selector is capable of transmitting and

 receiving signals in either RF or IR mode, it does not necessarily require the selector to receive

 both IR and RF signals from a given device. The prosecution history also seems clear that the user

 selects the desired mode.

                                              Conclusion

        The Court finds the claim language controlling. The claim language states the selector

 transmits either RF or IR signals “as desired.” The word “desired” implies user selection. Addi-

 tionally, the specification and prosecution history makes clear the user selects the desired trans-

 mission mode. This is consistent with other portions of the claim (see claim 1 and 10), which

 require a “user interface” for sending “user selections” and obtaining the “user’s choice.”

        Regarding the “either”/“both” dispute, the Court is not persuaded the claim language

 should be changed from “either” to “both,” which is never used in the intrinsic record. Further, the

 claims, specification, and prosecution history all support Plaintiff’s position the selector need only

 receive either an IR or RF signal from an individual device and not necessarily both IR and RF

 signals from an individual device.

        The Court construes “a selector controlled by said microprocessor for enabling said radio




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 frequency transceiver and said infra-red frequency transceiver to transmit a desired command code

 set generated by said microprocessor via either radio frequency signals and infra-red signals as

 desired, and to receive a signal from any one of said external devices via either radio frequency

 signals and infra-red signals” to mean “a selector controlled by said microprocessor for ena-

 bling said radio frequency transceiver and said infra-red frequency transceiver to transmit

 a desired command code set generated by said microprocessor via either radio frequency

 signals and infra-red signals as selected by a user, and to receive a signal from any one of said

 external devices via either radio frequency signals and infra-red signals.”

         The Court notes this construction is consistent with the construction proposed by the Court

 at the claim construction hearing, to which neither Plaintiff nor Defendant objected.

         E. “data detector” (claim 10)

           Plaintiff’s                                      Defendant’s
     Proposed Construction                             Proposed Construction
                                    a device configured to receive signals from each one of the ex-
   plain and ordinary meaning       ternal devices through the selector and to transmit control sig-
                                    nals from the external devices to a microprocessor

         (1) The Parties’ Positions

         Plaintiff argues the plain and ordinary meaning of this term is appropriate. See, e.g., Pl.’s

 Opening Br. [Dkt. # 85] at 10. Defendant argues the term should include the functional language

 in the claim purporting to describe the structure of the data detector. See, e.g., Def.’s Resp. Br.

 [Dkt. # 91] at 18. Plaintiff counters that Defendant attempts to rewrite the term without any sup-

 port. See, e.g., Pl.’s Reply Br. [Dkt. # 94] at 10.




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        (2) Analysis

                                              The Issue

        The primary issue as to this term is whether the plain and ordinary meaning applies or

 whether a more narrowing definition is appropriate.

                                             The Claims

        The “data detector” phrase is found in claim 10, which recites:

        a data detector coupled to said selector for receiving signals transmitted from each one of
        said external devices, said data detector providing control signals received from said exter-
        nal devices to said microprocessor.

 (emphasis added). This phrase was not added or amended during the prosecution of the ’467 Pa-

 tent. There were no statements in the prosecution history particularly relevant to this term or the

 parties’ dispute, and neither party relies on portions of the specification or prosecution history in

 support of their arguments.

                                             Conclusion

        The Court is not persuaded by Defendant’s arguments. Specifically, the Court is not con-

 vinced that a change of the word is appropriate or helpful or the inclusion of the phrase “through

 the selector” is warranted. At best, it is an inappropriate limitation to the preferred embodiment of

 the specification.

        The Court finds one of ordinary skill in the art, based upon the specification and the claims,

 would understand the disputed term to have its plain and ordinary meaning. The Court therefore

 rejects Defendant’s arguments to the contrary, and no further clarification of the term is necessary.

 Because this resolves the dispute between the parties, the Court finds that the term requires no

 further construction. See U.S. Surgical Corp. v. Ethicon, Inc., 103 F.3d 1554, 1568 (Fed. Cir. 1997)

 (“Claim construction is a matter of resolution of disputed meanings and technical scope, to clarify



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 and when necessary to explain what the patentee covered by the claims, for use in the determina-

 tion of infringement. It is not an obligatory exercise in redundancy.”); see also O2 Micro Int’l Ltd.

 v. Beyond Innovation Tech. Co., 521 F.3d 1351, 1362 (Fed. Cir. 2008) (“[D]istrict courts are not

 (and should not be) required to construe every limitation present in a patent’s asserted claims.”)

 (citing U.S. Surgical, 103 F.3d at 1568).

        The Court construes the term “a data detector coupled to said selector for receiving signals

 transmitted from each one of said external devices, said data detector providing control signals

 received from said external devices to said microprocessor” to have its plain and ordinary mean-

 ing. The Court notes this construction is consistent with the construction proposed by the Court at

 the claim construction hearing, to which neither Plaintiff nor Defendant objected.

        F. “command code set” (claims 1, 10, and 34)

           Plaintiff’s                                       Defendant’s
     Proposed Construction                              Proposed Construction
                                   a set of signals that constitute the universe of signals necessary
   plain and ordinary meaning      to perform all of the specific functions in each remotely con-
                                   trolled device

        (1) The Parties’ Positions

        Generally, Plaintiff argues the plain and ordinary meaning of all disputed terms is appro-

 priate. See, e.g., Pl.’s Opening Br. [Dkt. # 85] at 10. Defendant argues this term is not readily

 understandable by the jury and needs a construction and that this term was defined in the applica-

 tion. See, e.g., Def.’s Resp. Br. [Dkt. # 91] at 19. Plaintiff replies that Defendant attempts to limit

 the claim term to a preferred embodiment of the specification. See, e.g., Pl.’s Reply Br. [Dkt. # 94

 at 10. Plaintiff also argues Defendant inserts language—“the universe of signals”—that is not

 found in the claims, specification, or prosecution history. Id. at 11. Plaintiff argues that Defendant




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 has not shown any disavowal as to this term. Id.

        (2) Analysis

                                              The Issue

        The primary issue as to this term is whether the plain and ordinary meaning applies or

 whether a more narrowing definition is appropriate.

                                             The Claims

        “Command code set” appears in the microprocessor limitation in claims 1, 10, and 34:

        [from claim 1] a microprocessor for generating a plurality of control signals used
        to operate said system, said microprocessor creating a plurality of reprogrammable
        communication protocols, for transmission to said external devices wherein each
        communication protocol includes a command code set that defines the signals
        that are employed to communicate with each one of said external devices;

        [from claim 10] a microprocessor for generating a plurality of control signals used
        to operate said system, said microprocessor creating a plurality of communication
        protocols for transmission to said external devices, each protocol containing a plu-
        rality of control signals used to interface with an external device, wherein each
        communication protocol includes a command code set that defines the signals
        that are employed to communicate with each one of said external devices;

        [from claim 34] a microprocessor for generating a plurality of control signals used
        to operate said system, said microprocessor creating a plurality of reprogrammable
        communication protocols for transmission to said external devices wherein each
        communication protocol includes a command code set that defines the signals
        that are employed to communicate with each one of said external devices[.]

 (emphasis added). Notably, each independent claim specifies that “each communication protocol

 includes a command code set that defines the signals that are employed to communicate with each

 one of said external devices.” In the separate “selector” limitation (see claims 2 and 10), the claim

 language states the microprocessor generates a “command code set.”




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                                          The Specification

        The specification is consistent with the claims:

        Typically, each manufacturer of one of these devices such as TV sets, VCR sets,
        CD players and Cable boxes, employs a specific communication protocol that in-
        cludes a command code set for performing various functions to remotely control
        the device. Each command code set comprises a set of signals, wherein each
        signal is utilized to perform an available function. For example, a TV set made
        by manufacturer A, may require a command code set that includes various signals
        to remotely control various available functions such as channel up, channel down,
        volume up, volume down, mute, and power "on" and "off". This command code set
        may have a different set of signals than another command code set employed for a
        TV set made by manufacturer B. In the alternative, manufacturer A may employ
        different command code sets for its own various models of TV sets.

        It will be appreciated that a handset that is capable of communicating with substan-
        tially all major brands of various devices, or transmit infra red frequencies insulated
        with control signals ranging from 30-130 KHz, requires a substantially large
        memory to store all the command code sets with various sets of signals. For ex-
        ample, it is desirable to store approximately 270 different code sets that may be
        used by handset 10 to remotely communicate with major brand TV sets, VCR sets,
        CDS and Cable boxes. These devices are adapted to receive infra-red signals with
        frequencies ranging from 30-120 KHz. On the average, each command code set
        may contain about 20 signals, wherein each signal is used to perform a desired
        function.

 ’467 Patent at 7:40–67 (emphasis added).

        As mentioned previously, each command code set includes a set of signals that
        may be employed to transmit a specific command to an infra-red receiver lo-
        cated in an electronic device that is being controlled. In one embodiment of mi-
        croprocessor 30, in accordance with the present invention, each command code set
        is represented by parameters stored in an array comprising a set of variable fields
        that may vary in size depending on the amount of information stored in each field.

 Id. at 8:31–39 (emphasis added).

                                      The Prosecution History

        Neither party substantively relies on the prosecution history in support of their positions




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 on this term. But as discussed in relation to the microprocessor term, the phrase “wherein each

 communication protocol includes a command code set that defines the signals that are employed

 to communicate with each one of said external devices” was added during prosecution of the ’467

 Patent. See, e.g., Oct. 31, 1997 Resp. to Office Action (see claims 1 and 10). The applicant ex-

 plained “each of these communication protocols as used by various devices includes a command

 code set for performing various functions so as to allow a user to remotely control an external

 device. Each command code set comprises a set of signals, wherein each signal is utilized to per-

 form an available function on the external device.” Id. at 10.

                                             Conclusion

        Nothing in the intrinsic record requires Defendant’s construction. For example, the term

 “universe” is never mentioned in the intrinsic record. In fact, the intrinsic record is consistent in

 requiring the command code set to comprise a set of signals, wherein each signal is used to perform

 a desired/available function on the external device. Defendant’s construction is not only unwar-

 ranted based on the intrinsic record, it appears to contradict the plain meaning of the claims. In

 other words, rather than only containing signals that are used to perform certain functions on the

 external device, Defendant’s language would require the signals to constitute all potential functions

 in each device. Even if, arguendo, there is some support in the specification for Defendant’s argu-

 ment, the Court finds the examples in the specification are non-limiting embodiments of the in-

 vention that should not be imported into the claims. Simply put, the claim does not require the

 limitations proposed by Defendant.

        The Court finds one of ordinary skill in the art, based upon the specification and the claims,

 would understand the disputed term to have its plain and ordinary meaning. The Court rejects

 Defendant’s arguments to the contrary. No further clarification of the terms is necessary. Because




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 this resolves the dispute between the parties, the Court finds that the term requires no further con-

 struction. See U.S. Surgical Corp. v. Ethicon, Inc., 103 F.3d 1554, 1568 (Fed. Cir. 1997) (“Claim

 construction is a matter of resolution of disputed meanings and technical scope, to clarify and when

 necessary to explain what the patentee covered by the claims, for use in the determination of in-

 fringement. It is not an obligatory exercise in redundancy.”); see also O2 Micro Int’l Ltd. v. Beyond

 Innovation Tech. Co., 521 F.3d 1351, 1362 (Fed. Cir. 2008) (“[D]istrict courts are not (and should

 not be) required to construe every limitation present in a patent’s asserted claims.”) (citing U.S.

 Surgical, 103 F.3d at 1568).

        The Court construes the term “command code set that defines the signals that are employed

 to communicate with each one of said external devices” to have its plain and ordinary meaning.

 The Court notes this construction is consistent with the construction proposed by the Court at the

 claim construction hearing, to which neither Plaintiff nor Defendant objected.

        G. “communication protocols” (claim 1, 10, and 34)

           Plaintiff’s                                      Defendant’s
     Proposed Construction                             Proposed Construction
                                  sets of rules that allow for two or more devices to communicate
   plain and ordinary meaning     wirelessly with one another using a command code set to pro-
                                  duce an action in a remotely controlled external device

        (1) The Parties’ Positions

        Plaintiff argues generally that the plain and ordinary meaning of all disputed terms is ap-

 propriate. See, e.g., Pl.’s Opening Br. [Dkt. # 85] at 10. Defendant argues this term is not readily

 understandable by the jury and needs a construction. See, e.g., Def.’s Resp. Br. [Dkt. # 91] at 19.

 Defendant argues that its construction is supported by the intrinsic evidence. Id. at 20. Plaintiff

 counters that Defendant attempts to rewrite the term without any support. See, e.g., Pl.’s Reply Br.




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 [Dkt. # 94] at 11. Plaintiff also argues that Defendant inserts language—“two or more devices”

 and “to produce an action”—that is not supported based on the intrinsic record. Id. Plaintiff argues

 that Defendant has not shown any disavowal as to this term. Id.

        (2) Analysis

                                             The Issues

        The primary issue as to this term is whether the plain and ordinary meaning applies or

 whether a more narrowing definition is appropriate. The “communications protocol” term is re-

 lated in substance and form to the prior “command code set” limitation.

                                             The Claims

        “Communications protocol” is found in the microprocessor limitation in claims 1, 10, and

 34:

        [from claim 1] a microprocessor for generating a plurality of control signals used
        to operate said system, said microprocessor creating a plurality of reprogrammable
        communication protocols, for transmission to said external devices wherein each
        communication protocol includes a command code set that defines the signals
        that are employed to communicate with each one of said external devices;

        [from claim 10] a microprocessor for generating a plurality of control signals used
        to operate said system, said microprocessor creating a plurality of communication
        protocols for transmission to said external devices, each protocol containing a plu-
        rality of control signals used to interface with an external device, wherein each
        communication protocol includes a command code set that defines the signals
        that are employed to communicate with each one of said external devices;

        [from claim 34] a microprocessor for generating a plurality of control signals used
        to operate said system, said microprocessor creating a plurality of reprogrammable
        communication protocols for transmission to said external devices wherein each
        communication protocol includes a command code set that defines the signals
        that are employed to communicate with each one of said external devices;




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 (emphasis added). Each independent claim specifies the microprocessor creates a “plurality of [re-

 programmable] communication protocols” for transmission to external devices. Each independent

 claim then defines the communication protocol in relation to the subsequently recited “command

 code set.” In other words, the claim language itself defines a communication protocol as having

 “a command code set that defines the signals that are employed to communicate with each one of

 said external devices.” In the separate “user interface” limitation, the claim states the micropro-

 cessor generates a “communication protocol” in response to a user selection.

                                         The Specification

        The specification is consistent with the claims:

        Open architecture software within microprocessor 30 creates a generalized com-
        mand and control protocol which makes it possible to interact, in a wireless mode,
        with any number of external devices that have compatible transceivers with wire-
        less communications, command, control and sensing handset 10. The software also
        provides all the internal controls and necessary protocols for specified radio and
        infra-red communication links. Control signals created by these protocols allow the
        system to be used as a wireless telephone or as a remote controller for entertainment
        appliances or alarm systems or energy control systems or for personal security op-
        erations, etc.

 ’467 Patent at 7:14–25.

        The handset is further configured to utilize several communication protocols em-
        ployed by various manufacturers or various models of the same brand. Typically,
        each manufacturer of one of these devices such as TV sets, VCR sets, CD players
        and Cable boxes, employs a specific communication protocol that includes a
        command code set for performing various functions to remotely control the
        device. Each command code set comprises a set of signals, wherein each signal is
        utilized to perform an available function. For example, a TV set made by manufac-
        turer A, may require a command code set that includes various signals to remotely
        control various available functions such as channel up, channel down, volume up,
        volume down, mute, and power "on" and "off". This command code set may have
        a different set of signals than another command code set employed for a TV set
        made by manufacturer B. In the alternative, manufacturer A may employ different




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         command code sets for its own various models of TV sets.

 Id. at 7:37–54 (emphasis added). These excerpts are clear that each communication protocol in-

 cludes a command code set for performing various functions to remotely control the external de-

 vice.

                                       The Prosecution History

         Neither party substantively relies on the prosecution history in support of their positions

 on this term. But as discussed in relation to the microprocessor term, the phrase “wherein each

 communication protocol includes a command code set that defines the signals that are employed

 to communicate with each one of said external devices” was added during prosecution of the ’467

 Patent. See, e.g., Oct. 31, 1997 Resp. to Office Action (see claims 1 and 10). And during prosecu-

 tion, the applicant explained “each of these communication protocols as used by various devices

 includes a command code set for performing various functions so as to allow a user to remotely

 control an external device. Each command code set comprises a set of signals, wherein each signal

 is utilized to perform an available function on the external device.” Id. at 10.

                                              Conclusion

         The Court is not persuaded by Defendant’s arguments given that nothing in the intrinsic

 record requires Defendant’s construction. For example, the term “rules” or “set of rules” is never

 mentioned in the intrinsic record, and the inclusion of such terms would add ambiguity and/or

 confusion to this term. Overall, the intrinsic record is consistent with the claims in defining the

 communication protocol in relation to the command code set. In effect, Defendant is trying to

 redefine the “command code set” term rather than defining the “communication protocol” term.

 Defendant’s attempt to separately define both “communication protocols” and “command code

 set” using similar language / limitations makes such limitations redundant and/or superfluous.




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          Overall, the Court finds “communication protocol” is sufficiently defined by the claim lan-

 guage and, in particular, the “command code set” limitation. Nothing else is needed. See U.S. Sur-

 gical Corp. v. Ethicon, Inc., 103 F.3d 1554, 1568 (Fed. Cir. 1997) (“Claim construction is a matter

 of resolution of disputed meanings and technical scope, to clarify and when necessary to explain

 what the patentee covered by the claims, for use in the determination of infringement. It is not an

 obligatory exercise in redundancy.”); see also O2 Micro Int’l Ltd. v. Beyond Innovation Tech. Co.,

 521 F.3d 1351, 1362 (Fed. Cir. 2008) (“[D]istrict courts are not (and should not be) required to

 construe every limitation present in a patent’s asserted claims.”) (citing U.S. Surgical, 103 F.3d at

 1568).

          Accordingly, the Court construes the term “communication protocols” to have its plain

 and ordinary meaning. The Court notes that this construction is consistent with the construction

 proposed by the Court at the claim construction hearing, to which neither Plaintiff nor Defendant

 objected.

          H. “parameter sets” (claims 1, 10, and 34)

           Plaintiff’s                                      Defendant’s
     Proposed Construction                             Proposed Construction
                                   a set of predefined encoded data stored in the memory device
   plain and ordinary meaning      that the microprocessor retrieves and uses to recreate a com-
                                   mand code set

          (1) The Parties’ Positions

          Plaintiff argues generally that the plain and ordinary meaning of all disputed terms is ap-

 propriate. See, e.g., Pl.’s Opening Br. [Dkt. # 85] at 10. Defendant argues that this term is not

 readily understandable by the jury and needs a construction. See, e.g., Def.’s Resp. Br. [Dkt. # 91]




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 at 19. Defendant argues its construction is supported by the intrinsic evidence. Id. at 20–21. Plain-

 tiff replies that Defendant’s construction improperly imports limitations from the specification.

 See, e.g., Pl.’s Reply Br. [Dkt. # 94] at 12. Further, the phrase “predefined encoded data” is not

 found in the patent. Id. Plaintiff argues Defendant has not shown any disavowal as to this term. Id.

        (2) Analysis

                                              The Issue

        The primary issue is whether the plain and ordinary meaning applies or whether a more

 narrowing definition is appropriate.

                                             The Claims

        “Parameter sets” is found in the independent claims and is used similarly. In particular, the

 term “parameters” and “parameter sets” are used in the “memory device” limitation in the inde-

 pendent claims:

        a memory device coupled to said microprocessor configured to store a plurality of
        parameter sets retrieved by said microprocessor so as to recreate a desired com-
        mand code set, such that the memory space required to store said parameters is
        smaller than the memory space required to store said command code sets;

 (emphasis added). Based on the claim language, the parameter sets are retrieved by the micropro-

 cessor and used to recreate a desired command code set.

                                          The Specification

        The specification include numerous references to “parameters” or “parameter sets”:

                In order to substantially decrease the amount of memory necessary to store
        infra-red signals, microprocessor 30 in accordance with the present invention, re-
        trieves data from a memory device, such as a RAM, ROM, EPROM or EEPROM,
        that is configured so as to store a finite set of parameters that may be used to
        recreate and generate signals corresponding to a desired command code set.
        These parameters take substantially less memory space than if the entire signal
        were to be stored.



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 ’467 Patent at 8:23–30 (emphasis added).

                In one embodiment of microprocessor 30, in accordance with the present
        invention, each command code set is represented by parameters stored in an
        array comprising a set of variable fields that may vary in size depending on
        the amount of information stored in each field. These arrays are categorized as
        parent or root arrays and child or branch arrays. A parent array contains parameters
        that may be utilized to generate a set of infra-red signals that belong to a desired
        command code set. A child array, relates to its parent array, and is used to generate
        a different set of signals that belong to a different desired command code set. A
        child or branch array may store those parameters that are different from its parent
        array. A child array may not store those parameters that are substantially similar
        to those of its parent array. For such parameters, the child array retrieves the nec-
        essary information from the corresponding field in its parent array to generate the
        signals that belong to a command code set corresponding to this child array.

 Id. at 8:34–52 (emphasis added).

                 Furthermore, parent and child arrays may also refer to certain parameters
        in other arrays to generate some of the signals that are desired in conjunction with
        generating a command code set. Microprocessor 30 in accordance with the present
        invention may also be configured such that a set of signals belonging to a command
        code set may be generated by using parameters stored in one array, and remaining
        sets of signals belonging to the same command code set may be generated by using
        parameters stored in other arrays.

 Id. at 8: 57–65 (emphasis added). These excerpts, which are consistent with the express claim

 language, show the parameter sets are used to recreate and generate signals corresponding to a

 desired command code set. In addition, the specification teaches the parameters are stored in an

 array comprising a set of variable fields that may vary in size depending on the amount of infor-

 mation stored in each field.

        Neither party substantively relies on the prosecution history in support of their positions

 on this term. But as discussed in relation to the microprocessor term, the entire “memory device”

 limitation/phrase (which includes the “parameter” terms) was added during prosecution of the ’467




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 Patent. See, e.g., Oct. 31, 1997 Resp. to Office Action (see claims 1 and 10).

        Overall, the Court finds the patent does not provide any specific meaning to the term “pa-

 rameter” or “parameter sets,” and the term is used consistent with its plain and ordinary meaning.

 The Court rejects Defendant’s construction because, among other reasons, the phrase “predefined

 encoded data” is never used in the intrinsic record and the construction is superfluous and/or re-

 dundant to the surrounding claim language. In general, the plain meaning of the term “parameter”

 means a type of variable. Consistent with the plain meaning, the ’467 Patent specification appears

 to relate parameters as “a set of variable fields” that may vary in size depending on the amount of

 information stored in each field. See, e.g., id. at 8:36–39.

        But while the Court offered this construction during the claim construction hearing, the

 parties agreed that a plain-and-ordinary meaning construction would be more appropriate. Thus,

 consistent with the parties’ proposal, no further clarification of the term is necessary. And because

 this resolves the dispute between the parties, the Court finds that the term requires no further con-

 struction. See U.S. Surgical Corp. v. Ethicon, Inc., 103 F.3d 1554, 1568 (Fed. Cir. 1997) (“Claim

 construction is a matter of resolution of disputed meanings and technical scope, to clarify and when

 necessary to explain what the patentee covered by the claims, for use in the determination of in-

 fringement. It is not an obligatory exercise in redundancy.”); see also O2 Micro Int’l Ltd. v. Beyond

 Innovation Tech. Co., 521 F.3d 1351, 1362 (Fed. Cir. 2008) (“[D]istrict courts are not (and should

 not be) required to construe every limitation present in a patent’s asserted claims.”) (citing U.S.

 Surgical, 103 F.3d at 1568).

        The Court construes the term “parameter sets” to have its plain and ordinary meaning.




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         I. “backup battery power source” (claim 14)

           Plaintiff’s                                      Defendant’s
     Proposed Construction                             Proposed Construction
                                  a battery that serves as a substitute or support for a primary
   plain and ordinary meaning     power source in a base station portion of the ‘communica-
                                  tions . . . system’

         (1) The Parties’ Positions

         Defendant argues that while this term should have its plain meaning, a construction is nec-

 essary to ensure Plaintiff does not take a position contrary to the plain meaning. See, e.g., Def.’s

 Resp. Br. [Dkt. # 91] at 21. Defendant argues its construction is supported based on claims and

 specification. Plaintiff argues generally that the plain and ordinary meaning of all disputed terms

 is appropriate. See, e.g., Pl.’s Opening Br. [Dkt. # 85] at 10. As to Defendants’ position, Plaintiff

 counters that Defendant’s construction makes the surrounding claim language superfluous. See,

 e.g., Pl.’s Reply Br. [Dkt. # 94] at 12. Plaintiff argues that Defendant has not shown any disavowal

 as to this term. Id.

         (2) Analysis

                                              The Issue

         The primary issue as to this term is whether any construction is needed or does the simple

 plain and ordinary meaning suffice.

                                             The Claims

         The disputed term appears in dependent claim 14, which recites:

         The communications, command, control and sensing system of claim 10 wherein
         said base station further comprises a backup battery power source.

 (emphasis added). This provides no special meaning for the term “backup battery power source.”




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 The claim does, however, expressly requires it to be part of the “base station.”

                                          The Specification

        The specification has one reference to the disputed term:

        Base station power is provided both with a backup battery pack 115 and by direct
        connection to an alternating current source 116. The alternating current source is
        further used to charge the handset battery. A battery charger 110 provides the means
        for charging the handset battery and the battery within the base station 25.

 ’467 Patent at 25:33–35. Backup battery pack 115 is referenced in FIG. 4 by “DC POWER.” The

 ’467 Patent provides no special meaning to the term “backup battery pack,” and the patent’s use

 of the term is consistent with its ordinary meaning.

                                      The Prosecution History

        Neither party substantively relies on the prosecution history in support of their positions

 on this term.

                                             Conclusion

        The Court is not convinced by Defendant’s arguments concerning this relatively simple

 and straightforward term. “Backup battery power source” does not appear to have a meaning other

 than its plain and ordinary meaning. Further, the express claim language already requires that the

 backup battery power source be part of the “base station.” Thus, portions of Defendant’s proposed

 construction are redundant to and/or makes the surrounding claim language superfluous. Further,

 the parties’ dispute appears not directly related to what is a “backup battery pack,” but instead the

 separate terms “handset” and “base station.”

        The Court finds that one of ordinary skill in the art, based upon the specification and the

 claims, would understand the disputed term to have its plain and ordinary meaning. The Court

 rejects Defendant’s arguments to the contrary. No further clarification of the terms is necessary.




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 Because this resolves the dispute between the parties, the Court finds that the term requires no

 further construction. See U.S. Surgical Corp. v. Ethicon, Inc., 103 F.3d 1554, 1568 (Fed. Cir. 1997)

 (“Claim construction is a matter of resolution of disputed meanings and technical scope, to clarify

 and when necessary to explain what the patentee covered by the claims, for use in the determina-

 tion of infringement. It is not an obligatory exercise in redundancy.”); see also O2 Micro Int’l Ltd.

 v. Beyond Innovation Tech. Co., 521 F.3d 1351, 1362 (Fed. Cir. 2008) (“[D]istrict courts are not

 (and should not be) required to construe every limitation present in a patent’s asserted claims.”)

 (citing U.S. Surgical, 103 F.3d at 1568).

        The Court construes the term “backup battery power source” to have its plain and ordi-

 nary meaning. This construction is consistent with the construction proposed by the Court at the

 claim construction hearing, to which neither Plaintiff nor Defendant objected.

        J. “plurality of home entertainment systems” (claim 26)

           Plaintiff’s                                      Defendant’s
     Proposed Construction                             Proposed Construction
                                  two or more home entertainment systems that are part of the
   plain and ordinary meaning     wireless communications command, control and sensing system
                                  in addition to the handset and base station

        (1) The Parties’ Positions

        Plaintiff argues generally that the plain and ordinary meaning of all disputed terms is ap-

 propriate. See, e.g., Pl.’s Opening Br. [Dkt. # 85] at 10. Defendant responds that, while this term

 should have its plain meaning, a construction is necessary to make sure that Plaintiff does not take

 a position contrary to the plain meaning. See, e.g., Def.’s Resp. Br. [Dkt. # 91] at 22. Plaintiff

 replies that Defendant’s construction makes the surrounding claim language superfluous. See, e.g.,

 Pl.’s Reply Br. [Dkt. # 94] at 13. Plaintiff argues Defendant has not shown any disavowal as to this




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 term. Id.

        (2) Analysis

                                              The Issue

        The primary issue as to this term is whether any construction is needed or does the simple

 plain and ordinary meaning suffice.

                                             The Claims

        The disputed term appears in dependent claim 26, which is reproduced below:

        The wireless communications command, control and sensing system of claim 23,
        further comprising a plurality of home entertainment systems, wherein said user
        interface generates a plurality of signals corresponding to each of said entertain-
        ment systems, said microprocessor generates a command signal having a corre-
        sponding protocol associated with each one of said entertainment systems, for
        transmission to said entertainment systems, said entertainment systems com-
        municating with said communications command, control and sensing system.

 (emphasis added). The claim language provides no special meaning for the term “home entertain-

 ment system.”

                                         The Specification

        The specification references a plurality of external devices (see FIG. 1B) that may be used

 in relation to the described system / invention. See, e.g., ’467 Patent at 20:41–22:35. For example:

        In a home entertainment embodiment, the combination of touch sensitive device
        14, microprocessor 30, embedded software and data base, a control signal path
        through RF/IR selector 52, infra-red transceiver 60 containing a light emitting de-
        vice, a remote control function is established for control of TVs 5, VCRs 6, cable
        boxes 7, sound systems 8 and any other appliance equipped with a compatible re-
        ceiver. The touch sensitive device 14 has mode and function selection sensitive ar-
        eas that when touched causes microprocessor 30 to generate the appropriate com-
        mand and control signals for the appliance. In an alternate embodiment, the inter-
        action with touch sensitive device 14, microprocessor 30 and external programming
        options, liquid crystal display device 82, or similar device, any number of pre-pro-
        grammed remote sensors 9 and/or apparatus 11 can be commanded and controlled.



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         In an alternate embodiment infrared transceiver 60 may be used in conjunction with
         microprocessor 30 to couple and encode infrared control signals generated and
         transmitted by other remote infrared control devices.

 ’467 Patent at 21:8–27 (emphasis added). The specification mentions various devices that may be

 part of the home entertainment system, such as TVs, VCRs, cable boxes, and sound systems. Id.

 at 21:13–14. The ’467 Patent provides no special meaning to the term “home entertainment” sys-

 tem, and the patent’s use of the term is consistent with its ordinary meaning.

                                       The Prosecution History

         Neither party substantively relies on the prosecution history in support of their positions

 on this term.

                                              Conclusion

         The disputed term is a relatively simple and straightforward term. The Court finds “home

 entertainment system” does not appear to have a meaning other than its plain and ordinary mean-

 ing. The parties’ dispute appears not directly related to what is a “home entertainment system,” but

 instead whether it is a separate device from the “handset” and “base station.” Therefore, a deter-

 mination on this issue would help resolve the dispute between the parties as to this term.

         The language in claim 26 recites “further comprising” followed by “a plurality of home

 entertainment systems.” The home entertainment systems in the specification are described as sep-

 arate devices from the base station and handset, such as TVs, VCRs, cable boxes, sound systems,

 etc. (See, e.g., col. 21, ll. 8-13.) On balance, the Court finds that the plurality (i.e. “two or more”)

 of home entertainment systems are separate from the previously claimed “base station” and “hand-

 set.”

         The Court finds that one of ordinary skill in the art, based upon the specification and the




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 claims, would understand the disputed term to have its plain and ordinary meaning and, as dis-

 cussed above, understand that the home entertainment systems are separate from the base station

 and handset. No further clarification of the terms is necessary. See U.S. Surgical Corp. v. Ethicon,

 Inc., 103 F.3d 1554, 1568 (Fed. Cir. 1997) (“Claim construction is a matter of resolution of dis-

 puted meanings and technical scope, to clarify and when necessary to explain what the patentee

 covered by the claims, for use in the determination of infringement. It is not an obligatory exercise

 in redundancy.”); see also O2 Micro Int’l Ltd. v. Beyond Innovation Tech. Co., 521 F.3d 1351, 1362

 (Fed. Cir. 2008) (“[D]istrict courts are not (and should not be) required to construe every limitation

 present in a patent’s asserted claims.”) (citing U.S. Surgical, 103 F.3d at 1568).

        The Court hereby construes the term “plurality of home entertainment systems” to have its

 plain and ordinary meaning.

        K. “external device” (claim 1, 10, 34)

           Plaintiff’s                                      Defendant’s
     Proposed Construction                             Proposed Construction
                                   a device separate from the handset and base station that is re-
   plain and ordinary meaning      motely controlled by the handset or base station via a command
                                   code set

        (1) The Parties’ Positions

        Plaintiff argues generally that the plain and ordinary meaning of all disputed terms is ap-

 propriate. See, e.g., Pl.’s Opening Br. [Dkt. # 85] at 10. Defendant argues that while this term

 should have its plain meaning, a construction is necessary to make sure that Plaintiff does not take

 a position contrary to the plain meaning. See, e.g., Def.’s Resp. Br. [Dkt. # 91] at 22. Plaintiff

 replies that Defendant’s construction imports a limitation from an embodiment of the specification

 that does not involve or reference an “external device.” See, e.g., Pl.’s Reply Br. [Dkt. # 94] at 13.




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 Plaintiff argues that Defendant has not shown any disavowal as to this term. Id.

        (2) Analysis

                                             The Issue

        The primary issue as to this term is whether any construction is needed or does the simple

 plain and ordinary meaning suffice.

                                            The Claims

        The disputed term appears in the preambles of claims 1, 10, and 34:

        [claim 1] A communications, command, control and sensing system for communi-
        cating with a plurality of external devices comprising:

        [claim 10] A handset and a base station employed in a communications, command,
        control and sensing system for communicating with a plurality of external de-
        vices, said handset and base station each comprising

        [claim 34] A communications, command, control and sensing system for communi-
        cating with a plurality of external devices comprising:

 (emphasis added). Each of the independent claims has additional references to “external devices.”

 The claim language provides no special meaning for the term “external device.”

                                         The Specification

        The ’467 Patent’s abstract teaches that the microprocessor of the claimed system transmits

 digital data, command/or control signals to external devices such as home appliances and remote

 sensors, as well as telephone, paging and intercom systems. The specification has repeated refer-

 ences to “external appliance and/or apparatuses,” which appear to be the same as an external de-

 vice. FIG. 1B of the patent illustrates a block diagram of the system with external devices:

        As illustrated in FIG. 1b, external appliances and/or apparatuses may include an
        intercom 2, an alarm 3, an alternating current (AC) actuator 4, a TV 5, a VCR 6, a
        cable box 7, a sound system 8, a remote sensor 9, or any other RF/IR apparatus 11.
        As shown, handset 10 may communicate directly to any of the external apparatuses




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        or directly to a base station 25. Alternately, base station 25 may communicate di-
        rectly with any of the external apparatuses or handset 10. Further still, handset 10
        may communicate to an external apparatus through base station 25. Finally, base
        station 25 may communicate through a telephone line and/or an alternating current
        (AC) signal power line to any other apparatus having the ability to communicate
        through same.

 ’467 Patent at 6:39–51 (emphasis added). Overall, the ’467 Patent provides no special meaning to

 the term “external device,” and the patent’s use of the term is consistent with its ordinary meaning.

                                      The Prosecution History

        Neither party substantively relies on the prosecution history in support of their positions

 on this term.

                                             Conclusion

        The disputed term is a relatively simple and straightforward term. The Court finds that the

 “external device” term does not appear to have a meaning other than its plain and ordinary mean-

 ing. The Court also finds Defendant’s construction would unnecessarily complicate the otherwise

 simple term.

        The parties’ dispute appears not directly related to what is an “external device,” but instead

 whether it is a separate device as opposed to the “handset” and “base station.” Thus, a determina-

 tion on this issue would help resolve the dispute between the parties as to this term.

        On balance, the Court finds that the plurality (i.e. “two or more”) of external devices are

 separate from the previously claimed “base station” and “handset.” Such a finding is supported by

 the claims and the specification. Accordingly, the Court construes “external device” to mean “a

 device separate from the handset and the base station.”

 V. CONCLUSION

        The Court adopts the above constructions set forth in this opinion for the disputed terms of




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 the patent-in-suit. The parties are ordered that they may not refer, directly or indirectly, to each

 other’s claim construction positions in the presence of the jury. Likewise, the parties are ordered

 to refrain from mentioning any portion of this opinion, other than the actual definitions adopted by

 the Court, in the presence of the jury. Any reference to claim construction proceedings is limited

 to informing the jury of the definitions adopted by the Court.
          SIGNED this 3rd day of January, 2012.
         SIGNED this 3rd day of November, 2017.




                                                         ____________________________________
                                                         ROY S. PAYNE
                                                         UNITED STATES MAGISTRATE JUDGE




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